                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 WILKES-BARRE DIVISION
 IN RE:                                              )    CHAPTER 13
                                                     )
 MICHAEL WILLIAM HENNING                             )
 aka MIKE HENNING,                                   )
                                                     )
                                      Debtor         )    CASE NO.: 5:20-BK-02617-RNO

                             OBJECTION OF CAPITAL ONE AUTO FINANCE,
                                 A DIVISION OF CAPITAL ONE, N.A.
                               TO CONFIRMATION OF PROPOSED PLAN

           Capital One Auto Finance, a division of Capital One, N.A. ("COAF"), by and through its

 attorneys, Mester & Schwartz, P.C., files Objection to Confirmation of Debtor's Proposed Plan and
 states:

 1.        On November 06, 2017, Debtor Michael William Henning, entered into a Retail Installment
           Sales Contract in the principal amount of $19,597.77 (the "Contract") that referred and related to

           the purchase of a 2017 MAZDA Mazda3 Sedan 4D Sport, V.I.N. JM1BN1U75H1143636 (the
           "Motor Vehicle"). COAF is the assignee of the Contract.

 2.        The interest rate under the Contract is 18.00% per annum.
 3.        To secure the Contract, Debtor granted a first lien on the Motor Vehicle in favor of COAF.

 4.        On September 01, 2020, Debtor filed a Voluntary Petition under Chapter 13 of the United States
           Bankruptcy Code.
 5.        On September 14, 2020, Debtor filed a Proposed Plan (the "Plan").

 6.        The Chapter 13 Trustee has scheduled a 341(a) Meeting of Creditors for October 05, 2020.
 7.        As of September 01, 2020, the total principal balance of COAF's claim was $15,630.12.

 8.        In the Plan, Debtor proposed to pay COAF the sum of $7,000.00 at the rate of 5.000% per

           annum interest.
 9.        Debtor's proposed treatment fails to comply with the cramdown requirements for confirmation as

           in contained in 11 U.S.C. Section 1325(a)(5)(B)(i).

10.        The fair market value for the Motor Vehicle is $14,200.00. See attached Exhibit C.




Case 5:20-bk-02617-RNO              Doc 20 Filed 10/01/20 Entered 10/01/20 10:29:56                     Desc
                                    Main Document Page 1 of 2
11.      COAF is entitled to a secured claim of $14,200.00 at 5.00% interest over the life of the plan.
12.      For the foregoing reasons, COAF objects to confirmation of the Plan.

         WHEREFORE Capital One Auto Finance, a division of Capital One, N.A., respectfully
 requests this Honorable Court to deny confirmation of the Plan.

                                                     Respectfully submitted,

                                                     Mester & Schwartz, P.C.

                                                     BY: /s/ Jason Brett Schwartz
                                                         Jason Brett Schwartz, Esquire
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                                                           Attorney for Capital One Auto Finance,
                                                           a division of Capital One, N.A.
 Dated: October 01, 2020




Case 5:20-bk-02617-RNO           Doc 20 Filed 10/01/20 Entered 10/01/20 10:29:56                      Desc
                                 Main Document Page 2 of 2
